The plaintiff and appellant, Arthur Ruben Turnock, and Charles E. Turnock, one of the respondents, are residuary legatees under the last will and testament of John E. Turnock, deceased.  The will, which was admitted to probate, contains a specific bequest of $30,000 to the Northwestern Loan 
Trust Company, as administrator de bonis non with the will annexed of the estate, successor of Charles E. Turnock, who was executor thereof.  On March 3, 1941, the Northwestern Loan  Trust Company petitioned the county court of Kenosha county for instructions regarding an offer of Charles E. Turnock to compromise his obligations amounting to $6,020.83 owing to the estate of John E. Turnock by the payment of the sum of $5,666.67.  The administrator made no recommendation with respect to the offer.
On March 7, 1941, Arthur R. Turnock filed objections to the acceptance of the offer of Charles E. Turnock on the grounds:  (1) That the farm which secured the obligation was sufficient security for the same if promptly foreclosed, and (2) that Charles E. Turnock was a responsible businessman having sufficient assets with which to pay his entire obligations to the estate.  A hearing was had before the court, and on April 1, 1941, the court found:
"That it is for the best interests of said estate and all parties interested therein that the offer of Charles E. Turnock of the sum of $5,666.67 in full settlement of said note for principal and interest be accepted.
"Wherefore, it is ordered, that said the Northwestern Loan Trust Company, as administrator de bonis non with will annexed of the estate of John E. Turnock, deceased, be and it hereby is authorized and directed to accept the offer of Charles E. Turnock of the sum of $5,666.67 in cash in full settlement of the above-mentioned note and interest." *Page 440 
It appears from statement of counsel that on April 22, 1941, the order was complied with, the mortgage satisfied, and the satisfaction recorded in the office of the register of deeds on April 22, 1941.
From this order Arthur R. Turnock, the objecting residuary legatee, appealed on May 24, 1941.  In this court there was a motion by the respondents to dismiss the appeal on the ground that the order was not appealable for the reasons, (1) it was not a final order and does not end the controversy to which it relates, and (2) no relief can be obtained by the appeal that cannot be obtained by an appeal from the final decree.
We do not find it necessary in this case to determine the appealability of the order.  Assuming, without deciding, that the order is appealable, we shall consider the second ground upon which the motion to dismiss is made.  In Will of Rice, 150 Wis. 401, 463, 465,136 N.W. 956, 137 N.W. 778, this matter was fully considered by the court in a case where the executors who had acted pursuant to order of the court were protected.  While that was a proceeding in the circuit court on appeal rather than in the county court, it was a proceeding relating to the administration of a testamentary trust and is fully applicable in this case by the terms of the decision.  The court said:
"The claim is made on behalf of the executors that they acted in good faith in disbursing the trust fund, — doing it always on judicial directions, — and so are entitled to protection against any personal liability, especially on complaint of the parties who consented to the disbursements. The rule invoked is good in its place. *Page 441 
"Doubtless if an executor, acting reasonably and in good faith, disburses money pursuant to an order or direction of the court which it had jurisdiction to make, he is protected in so doing, and, so long as he acts reasonably, he is not obliged to anticipate an appeal and for his protection delay proceedings until the time thereof shall have, expired.  That must be so, otherwise the administration of trusts under judicial supervision would be intolerably impaired.  That courts have so ruled, as counsel contend, would be taken for granted. [Citing cases.] Any ordinary order or judgment of the county court, entered without inexcusable fault on the part of the executor, and acted upon by him, reasonably and in good faith, while not interrupted by any stay or appeal, though within the timefor appealing, protects him as to all parties against whom, presently, it is binding. . . .
"An administrator or executor is a mere judicial instrumentality in the settling of an estate.  He has a right, in general, to rely upon the court in disbursing money coming into his hands.  He is a mere agent, that is all, and an agent supposed to act with promptness and fidelity under superior authority. The negligence in disbursing money, as executor or administrator, to make him personally liable, must needs be very manifest — so great to at least amount to bad faith, something like what is called gross negligence — such utter disregard of duty as to amount to constructive intent to wrongly dissipate the funds."
So far as we are advised, the decision in the Rice Case,supra, has never been overruled or limited.  In the case at bar, the order having been fully complied with prior to the time of the appeal, no stay of proceedings having been requested or made, the only question now open to consideration is whether the administrator acted in good faith in complying with the order.  That question has not been tried in the county court of Kenosha county.  No proceedings appear to have been had with respect to that question.  So far as the record discloses nothing was done until a bill of exceptions was served, which was stipulated on the 16th day of May, 1941, twenty-four days after the order had been complied with.  It is *Page 442 
apparent that the questions sought to be raised upon this appeal are now moot.  The order has served its purpose, payment has been made, the mortgage has been satisfied.  Even a reversal of the order would not set aside the satisfaction nor determine the liability of the administrator.  For that reason the appeal must be dismissed.
By the Court. — Appeal from the order of the county court is dismissed without prejudice to the rights of the petitioner to present any matter relating to the order now open to judicial consideration by the county court.